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 7

 8                                  UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   SONIA RANDHAWA,                                       Case No. 2:21-cv-00054-KJM-DB
12                  Plaintiff(s),                          DEFENDANT INTEL
                                                           CORPORATION’S REPLY TO
13          v.                                             PLAINTIFF’S OPPOSITION TO
                                                           MOTION TO DISMISS
14   INTEL CORPORATION,
15                  Defendant(s).                          Date:           May 7, 2021
                                                           Time:           10:00 a.m.
16                                                         Ctrm:           3, 15th Floor
                                                           Judge:          Hon. Kimberly J. Mueller
17
                                                           FAC Filed:      March 11, 2021
18                                                         Trial Date:     None
19
20   I.     INTRODUCTION

21          Plaintiff’s Opposition to Defendant’s Motion to Dismiss fails to show that she exhausted

22   her administrative remedies as to her Third and Fourth Causes of Action for retaliation under Title

23   VII and California’s Fair Employment and Housing Act (“FEHA”). Plaintiff relies heavily on a

24   standalone reference in her EEOC Charge that she complained about a coworker’s “stalking and

25   sexual harassment” to Human Resources to argue that her retaliation claims are apparent on the

26   face of the Charge or reasonably related to her discrimination allegations in the Charge. Plaintiff

27   is wrong on both counts.

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 1          First, any contention that Plaintiff’s retaliation claims are somehow apparent on the face of
 2   the Charge is refuted by Plaintiff’s concession that, even after reviewing and approving the Charge,
 3   she left the box for “retaliation” unchecked and did not otherwise reference “retaliation” in the
 4   Charge. Plaintiff’s own conduct “creates a presumption” at the outset that she did not intend to
 5   assert a retaliation claim. Jones v. UPS, Inc., 502 F.3d 1176, 1186 (10th Cir. 2007).
 6          Further, Plaintiff cannot overcome this presumption by clinging to a brief reference in the
 7   Charge that her complaints about harassment in 2015 and 2016 allegedly went ignored by Human
 8   Resources. The Charge provides no causal link between these alleged complaints and Plaintiff’s
 9   layoff – the only adverse employment action mentioned in the Charge. Temporal proximity does
10   not exist, as Plaintiff’s layoff occurred in 2018 – which was more than two years after Plaintiff’s
11   first alleged complaints in 2015 and still more than a year after Plaintiff’s last alleged complaints
12   in 2016. Nor is any other causal connection discernable where, according to the Charge, the actors
13   allegedly involved in the harassment complaints (i.e., a co-worker and Human Resources) were
14   different than the actor purportedly involved in Plaintiff’s discriminatory termination (i.e., Brian
15   Staab). Plaintiff’s reference to harassment in the Charge might support a harassment claim (or
16   arguably Plaintiff’s sex discrimination claim), but the standalone, causally-disconnected reference
17   simply does not come close to overcoming the “presumption” that Plaintiff did not assert a separate
18   retaliation claim. Id.
19          Second, contrary to Plaintiff’s contention, her retaliation claims are not reasonably related
20   to the discrimination claims in her Charge such that an EEOC agent would have been expected to
21   investigate the retaliation claims. Perhaps most tellingly is the conduct of the actual EEOC agent
22   in this case. According to Plaintiff, an EEOC agent assisted her with intake and completing the
23   charge. Yet, the EEOC agent evidently did not construe Plaintiff’s allegations as giving rise to a
24   retaliation claim, as the EEOC agent did not check the “retaliation” box or otherwise reference
25   “retaliation” in the Charge.
26          Moreover, a side-by-side comparison between the EEOC Charge and the First Amended
27   Complaint (“FAC”) only further demonstrates the stark differences between the discrimination
28   claims in the Charge and the retaliation claims later asserted in the FAC. The claims are different
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 1   and mismatched with respect to the alleged (1) acts, (2) dates, and (3) perpetrators – all of which
 2   preclude any conclusion that the claims are “reasonably related” such that the EEOC would been
 3   expected to investigate retaliation.
 4          In sum, Plaintiff failed to exhaust her administrative remedies with respect to her retaliation
 5   claims. The claims should be dismissed.
 6   II.    ARGUMENT
 7          A.      A Retaliation Claim is Not “Apparent on the Face” of the EEOC Charge.
 8          A retaliation claim is nowhere identified on the face of Plaintiff’s EEOC Charge. Plaintiff
 9   concedes that she did not check the “retaliation” box in the Charge. (ECF No. 14 (“Opp’n”) at 3.)
10   Nor did Plaintiff reference “retaliation,” “retaliate,” or “retaliatory,” – or any similar words – in
11   the narrative of the Charge. (ECF No. 10-1 (“EEOC Charge”), Ex. A at 1.) This is all despite
12   Plaintiff admitting that she reviewed a draft prepared by an EEOC agent before she signed and
13   submitted the Charge. (Opp’n at 3.) Plaintiff’s own conduct “creates a presumption” that she did
14   not intend to assert a retaliation claim. Jones, 502 F.3d at 1186.
15          Plaintiff nevertheless contends that her retaliation claim is somehow apparent “on the face
16   of the EEOC Charge” because the Charge states that Plaintiff complained to Human Resources
17   about a coworker’s “stalking and sexual harassment” in 2015 and 2016. (Opp’n at 3.) Plaintiff’s
18   heavy reliance on this allegation is sorely misplaced.
19          To start, Plaintiff ignores the Charge’s grammatical structure. The reference in the Charge
20   to Human Resources allegedly ignoring Plaintiff’s complaints in 2015 and 2016 forms a separate,
21   standalone paragraph that is disconnected from the preceding paragraph’s allegation regarding
22   Plaintiff’s termination. (EEOC Charge, Ex. A at 1.) Therefore, from a grammatical standpoint,
23   Plaintiff’s allegation regarding Human Resources ignoring her harassment complaints appears to
24   constitute a separate, standalone issue/claim.
25          More critically, the Charge offers no causal connection between these alleged complaints
26   and Plaintiff’s layoff – the only adverse employment action mentioned in the Charge. Temporal
27   proximity does not exist, as Plaintiff’s layoff occurred in 2018 – which was more than two years
28   after Plaintiff’s first alleged complaints in 2015 and still more than a year after Plaintiff’s last
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 1   alleged complaints in 2016. Nor is any other causal nexus discernable where, according to the
 2   Charge, the actors allegedly involved in the harassment complaints (i.e., a co-worker and Human
 3   Resources) were different than the actor involved in Plaintiff’s discriminatory termination (i.e.,
 4   Brian Staab). Again, Plaintiff’s reference to harassment in the Charge might support a harassment
 5   claim, but the reference does not come anywhere close to overcoming the “presumption” that she
 6   did not assert a separate retaliation claim – let alone that such a claim is “apparent on face of the
 7   Charge,” as Plaintiff contends.1 (Opp’n at 3.)
 8          B.      Plaintiff’s Retaliation Claims in the FAC Are Not “Reasonably Related” to
                    the Allegations in Her EEOC Charge.
 9

10          Plaintiff’s retaliation claims in her FAC could not be “reasonably be expected to grow” out
11   of an investigation of the discrimination allegations in her Charge, and Plaintiff’s Opposition fails
12   to show otherwise. Sosa v. Hiraoka, 920 F.2d 1451, 1456 (9th Cir. 1990). In determining whether
13   a retaliation claim is reasonably related to the discrimination claims in an EEOC Charge, this Court
14   has considered factors such as “the alleged basis of discrimination, dates of discriminatory acts
15   specified within the charge, perpetrators of discrimination named in the charge, and any locations
16   at which discrimination is alleged to have occurred.” Bradley v. Cnty. of Sacramento Dep’t of
17   Human Assistance of N.Cal. Welfare Div., 2015 U.S. Dist. LEXIS 95747, at *8-9 (E.D. Cal. July
18   22, 2015) (citing cases).
19          In her Opposition, Plaintiff fails to address the factual dissimilarities Defendant highlights
20   in its Motion to Dismiss between the EEOC Charge and Plaintiff’s retaliation claims. Nor does
21   she explain how an investigation into the Charge’s discrimination allegations could have been
22   expected to uncover the retaliation claims as asserted in the FAC. Instead, she summarily argues:
23          A reasonable EEOC investigation would uncover additional details spanning the years
            [between 2015 to 2018]. Thus, any investigation of the sexual harassment and stalking
24
     1
       The reader might ask: “Why did Plaintiff reference sexual harassment complaints allegedly being
25   ignored by Human Resources?” Plaintiff answers that question in the Charge itself: Plaintiff
     sought to assert a sexual discrimination claim. Had Plaintiff omitted the allegations regarding her
26   sexual harassment complaints, there would have been no factual underpinning for her expressly
     asserted sexual discrimination claim. See Gerald v. Locksley, 785 F.Supp.2d 1074, 1114 (D.N.M.,
27   Aug. 1, 2011) (dismissing retaliation because reasonable reader would understand that plaintiff’s
     reference to management inaction of his harassment complaints, which was referenced in EEOC
28   Charge, was “merely an explanation leading up to the gist of his complaint of discrimination”).
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 1           claims would have reached the retaliatory Improvement Required Notice entered against
             Plaintiff and, it follows, the wrongful denial of a promotion [in 2017] . . . , all other
 2           subsequent events described in the Plaintiff’s FAC culminating in termination of Plaintiff’s
 3           employment.

 4   (Opp’n at 5:5-11.) Plaintiff’s conclusory argument fails.

 5           As an initial matter, it is telling that the EEOC agent who actually handled Plaintiff’s intake

 6   and drafting of the Charge did not think her allegations sounded in retaliation. The EEOC agent

 7   did not check the “retaliation” box or otherwise reference “retaliation” in the Charge. Nor, again,

 8   did Plaintiff make any effort to change this – to the extent that she had any intention of asserting a

 9   retaliation claim.

10           Moreover, a side-by-side comparison between the EEOC Charge and the First Amended

11   Complaint (“FAC”) only further demonstrates the stark differences between the discrimination

12   claims in the Charge and the retaliation claims later asserted in the FAC. First, the FAC includes

13   completely new alleged adverse employment actions. There is no mention in the Charge of the

14   retaliatory acts (or corresponding dates) that Plaintiff specifies as the basis for her retaliation claims

15   in the FAC. Specifically, the alleged wrongful Improvement Required Notice in 2015 and denied

16   promotion in 2017 are nowhere referenced in the Charge. The EEOC could not have been expected

17   to investigate these matters.

18           Second, the FAC identifies completely different alleged perpetrators. The only perpetrator

19   named in the Charge, Brian Staab, has no relationship with the individuals implicated in Plaintiff’s

20   Third and Fourth Causes of Action. Mr. Stabb – the individual who Plaintiff claims discriminated

21   against her because he did not extend her employment past her pre-established layoff date – was

22   (a) not the subject of Plaintiff’s alleged sexual harassment complaints (Sam Phillips) (see ECF No.

23   9 (“FAC”) ¶ 19); (b) not the manager who allegedly placed Plaintiff on an Improvement Required

24   Notice in 2015 (Charles Rostocil) (see ECF No. 1 (“Verified Complaint”) ¶ 24), and (c) not the

25   manager who allegedly denied Plaintiff a promotion in 2017 (Subramanian) (see FAC ¶ 30).

26   Plaintiff’s failure to name these perpetrators necessarily limited the scope of her EEOC Charge

27   and would not have led to an investigation into Plaintiff’s retaliation claims.

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 1          Indeed, the alleged discriminatory act specified in the Charge occurred when Plaintiff was
 2   working in a different department than the department where Plaintiff worked when she made her
 3   sexual harassment complaint to Human Resources. Specifically, Plaintiff transferred to a new
 4   department (Information Technology), worked under a new manager (Subramanian), and received
 5   a new title (Department Compliance and Controls Manager) shortly after she allegedly complained
 6   to Human Resources in 2015 about her coworker’s harassing conduct. (Verified Complaint ¶¶ 28-
 7   30.) On or about January 18, 2018, Plaintiff was informed that she was being laid off, effective
 8   March 31, 2018, due to a department-wide reorganization effort. (FAC ¶ 41.) Plaintiff was then
 9   denied a layoff extension and was not re-hired. (FAC ¶ 45.) Because Plaintiff’s internal transfer
10   meant she was working with different coworkers and under a different manager and because it was
11   her new department that committed the alleged discriminatory act, an EEOC investigation into the
12   circumstances surrounding Plaintiff’s layoff in 2018 would not have led to an investigation about
13   alleged retaliation based on Plaintiff’s complaints to Human Resources two years prior.
14          In sum, the retaliation claims in the FAC are not reasonably related to the discrimination
15   claims in Plaintiff’s Charge such that an EEOC agent would have been expected to investigate the
16   retaliation claims. Plaintiff has failed to exhaust her administrative remedies.
17          C.      This Case Mirrors Gerald v. Locksley
18          As discussed in Defendant’s Motion to Dismiss, Plaintiff cannot avoid the same fate as the
19   plaintiff in Gerald v. Locksley, 785 F.Supp.2d 1074 (D.N.M. Aug. 1, 2011). In Gerald, the plaintiff
20   filed a lawsuit against the defendant, his former employer, for retaliation and race discrimination
21   under Title VII. Id. at 1085. However, the plaintiff’s EEOC charge did not check the box for
22   “retaliation” and, in the narrative section of his EEOC charge, the plaintiff only stated that he
23   “reported [his discriminatory working terms and conditions] to management and nothing was
24   done.” Id. at 1114. The defendant moved to dismiss the plaintiff’s retaliation claims for failure to
25   exhaust administrative remedies, arguing that the plaintiff failed to check the “retaliation” box on
26   his EEOC Charge and failed to present sufficient information that could reasonably be expected
27   to lead the EEOC to investigate a retaliation claim. Id. The plaintiff countered that his statement
28   that he “reported this to management and nothing was done” saves his retaliation claim and
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 1   overcomes the presumption that his failure to check the retaliation box created. Id. The court
 2   ruled in the defendant’s favor and, importantly, rejected the plaintiff’s argument by reasoning as
 3   follows:
 4            Plaintiff’s assertion that ‘nothing was done’ does not sound in retaliation, because
              it does not suggest that Plaintiff suffered an adverse employment action in response
 5
              to his protected activity. A reasonable reader would understand that Plaintiff’s
 6            mention of management inaction as merely an explanation leading up to the gist of
              his complaint of discrimination.
 7
     Id.
 8
              The facts in Gerald mirror those in this case. Accordingly, as in Gerald, Plaintiff’s claims
 9
     for retaliation should be dismissed.
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     III.     CONCLUSION
11
              For the foregoing reasons, Defendant respectfully requests the Court grant its Motion to
12
     Dismiss and dismiss Plaintiff’s Third and Fourth Causes of Action with prejudice.
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14

15   Dated: April 30, 2021                                    JACKSON LEWIS P.C.

16
                                                    By:              /s/ Scott P. Jang
17                                                            Scott Philip Jang
                                                              Hardev S. Chhokar
18                                                            Attorneys for Defendant
                                                              INTEL CORPORATION
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